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ITED STATES DISTRICT COURT DOCUMENT
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SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
DOC #:
UNITED STATES OF AMERICA, DATE FILED:_Lo/ 26/2525
No. 16 CE =
-against-
ORDER
ROCCO CERMELE,

 

Defendant.

 

NELSON S. ROMAN, United States District Judge:

A review of the docket reveals that on December 1, 2016, Defendant Rocco Cermele was
charged in a one count Indictment with violating 18 U.S.C. § 1349, conspiracy to commit Mail Fraud,
Wire Fraud and Bank Fraud. Following his arraignment, the Defendant was released on a $50,000
bond. The Defendant is currently scheduled to be sentenced on October 21, 2020.

In light of the Defendant’s medical condition which includes hyper tension, high cholesterol, is
grossly overweight and suffered a stroke in 2018, the ongoing Coronavirus Disease 2019
(“COVID-19”) pandemic, and in order to comply with social distancing protocols and the directives
provided by the Chief Judge of the United States District Court for the Southern District of New York
to limit in-person court appearances due to the risk presented by COVID-19, it is the Court’s
determination that in order to prevent serious harm to the interest of justice, Defendant Rocco Cermele
can and should be permitted to be sentenced by video teleconference or by telephone conference
pursuant to the CARES Act § 15002(b)(2)(A).

Accordingly, it is hereby ORDERED that the Defendant’s sentencing hearing scheduled for
October 21, 2020 is to be conducted by video teleconference or by telephone conference (if video
conference is unavailable) before this Court.

Prior to the video teleconference or telephone conference, Defendant’s counsel shall either

obtain from Defendant a written or oral waiver of appearance and consent for counsel to proceed

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telephonically or video-telephonically either with or without Defendant present by telephone or video.
If counsel cannot obtain a written waiver from Defendant, counsel must provide an affidavit
confirming counsel has obtained Defendant’s consent. The affidavit must establish that counsel: (1)
consulted with Defendant regarding his right to be present at all conferences, (2) discussed with
Defendant the current public health emergency created by the COVID-19 pandemic and the
restrictions to courthouse access that have been implemented as a result, and (3) obtained Defendant’s
consent to willingly and voluntarily give up his right to be present at conferences for the period of time
in which access to the courthouse has been restricted on account of the COVID-19 pandemic.! The
affidavit shall be e-filed with the Court no later than one (1) day before the scheduled teleconference.

In preparation for and while engaging in the video teleconference or telephone conference,
please follow these guidelines:

1. Use a landline whenever possible.

2. Use a headset rather than speakerphone.

Ww

Identify yourself each time you speak.

4. Be mindful that, unlike in a courtroom setting, interrupting can render both speakers
unintelligible.

5. Mute when not speaking to eliminate background noise, i.e., dog barking, kids playing,
sirens, paper shuffling, emails pinging, drinking, and breathing. It all comes through. This will also
prevent interruptions.

6. Avoid voice-activated systems that don’t allow the speaker to know when someone else is
trying to speak and they cut off the beginning of words.

7. Spell proper names.

8. Have judge, or courtroom deputy, confirm reporter in on the line.

 

1 Please see the attached sample form as a reference.
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9. If someone hears beeps or musical chimes, that means someone has either entered or exited

the conference. Please be aware that the judge may need to clarify that the report has not lost the line.

(This has happened before, and the reporter had to dial back in and tell the judge the last thing that the

court reporter transcribed.)

Dated: October 20, 2020
White Plains, New York

SO ORDERED:

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NELSON S. ROMAN
United States District Judge
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

WAIVER OF RIGHT TO BE
PRESENT AT CRIMINAL
PROCEEDING

-V-

,

Defendant.

 

X -CR- ( 0)

Check Proceeding that Applies

Date:

Arraignment

| have been given a copy of the indictment containing the charges against me and have reviewed it
with my attorney. | understand that | have a right to appear before a judge in a courtroom in the
Southern District of New York to confirm that | have received and reviewed the indictment; to have the
indictment read aloud to me if | wish; and to enter a plea of either guilty or not guilty before the judge.

After consultation with my attorney, | wish to plead not guilty. By signing this document, | wish to
advise the court of the following. | willingly give up my right to appear in a courtroom in the
Southern District of New York to advise the court that:

1) | have received and reviewed a copy of the indictment.
2) | do not need the judge to read the indictment aloud to me.
3) | plead not guilty to the charges against me in the indictment.

 

Signature of Defendant

 

Print Name

Conference Date:

 

| have been charged in an indictment with violations of federal law. | understand that | have a right
to be present at all conferences concerning this indictment that are held by a judge in the Southern
District of New York, unless the conference involves only a question of law. 1! understand that at
these conferences the judge may, among other things, 1) set a schedule for the case including the date
at which the trial will be held, and 2) determine whether, under the Speedy Trial Act, certain periods of
time should be properly excluded in setting the time by which the trial must occur. | have discussed
these issues with my attorney and wish to give up my right to be present at the conferences. By
signing this document, | wish to advise the court that | willingly give up my right to be present at the
conferences in my case for the period of time in which access to the courthouse has been restricted on
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account of the COVID-19 pandemic. | request that my attorney be permitted to represent my
interests at the proceedings even though | will not be present.

Date:

 

Signature of Defendant

 

Print Name

| hereby affirm that | am aware of my obligation to discuss with my client the charges contained in the
indictment, my client’s rights to attend and participate in the criminal proceedings encompassed by this
waiver, and this waiver form. | affirm that my client knowingly and voluntarily consents to the proceedings
being held in my client’s absence. | will inform my client of what transpires at the proceedings and provide
my client with a copy of the transcript of the proceedings, if requested.

Date:

 

Signature of Defense Counsel

 

Print Name

Addendum for a defendant who requires services of an interpreter:

| used the services of an interpreter to discuss these issues with the defendant. The interpreter also
translated this document, in its entirety, to the defendant before the defendant signed it. The interpreter’s
name is:

 

Date:

 

Signature of Defense Counsel

Accepted:

 

Signature of Judge
Date:
